                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 4:10-cr-30
 v.                                                   )
                                                      )       MATTICE / LEE
 EDDIE SIMMONS                                        )

                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 12, 2011.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the fourteen-count

 Indictment and entered a plea of guilty to Count One of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

 the plea is made knowingly and with full understanding of each of the rights waived by defendant;

 the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

 in the plea agreement; the defendant understands the nature of the charge and penalties provided by

 law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to Count One of the Indictment be accepted, the

 Court adjudicate defendant guilty of the charges set forth in Count One of the Indictment, and a

 decision on whether to accept the plea agreement be deferred until sentencing.            I further

 RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

                                                 s/fâátÇ ^A _xx
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE

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                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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